Case 8:18-cv-01293-DOC-DFM Document 55 Filed 02/21/19 Page 1 of 5 Page ID #:1055



                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

  Case No. SA CV 18-1293-DOC (DFMx)                                Date: February 21, 2019

  Title: SPEAKWARE, INC. V. MICROSOFT CORPORATION ET AL


  PRESENT:

                     THE HONORABLE DAVID O. CARTER, JUDGE

                  Deborah                                       Not Present
                  Lewman
               Courtroom Clerk                                 Court Reporter

         ATTORNEYS PRESENT FOR                         ATTORNEYS PRESENT FOR
               PLAINTIFF:                                   DEFENDANT:
                 None Present                                  None Present



         PROCEEDINGS (IN CHAMBERS): ORDER DENYING WITHOUT
                                    PREJUDICE DEFENDANT
                                    GOOGLE LLC’S MOTION TO
                                    STAY PENDING DETERMINATION
                                    OF INTER PARTES REVIEW OF
                                    THE PATENT IN SUIT [34]

      Before the Court is Defendant Google LLC’s (“Google”) Motion to Stay Pending
  Determination of Inter Partes Review of the Patent-in-Suit (“Motion”) (Dkt. 34), in
  which remaining Defendants Apple Inc. (“Apple”), Microsoft Corp. (“Microsoft”),
  Amazon.com, Inc. (“Amazon”), and Samsung Elecs. Co., Ltd. and Samsung Elecs.
  America, Inc. (“Samsung”) (collectively with Google, “Defendants”) join. The Court
  finds this matter suitable for decision without oral argument. Fed. R. Civ. P. 78, Local
  Rule 7-15. Having considered the parties’ respective arguments, the Court hereby
  DENIES WITHOUT PREJUDICE Defendants’ Motion.
Case 8:18-cv-01293-DOC-DFM Document 55 Filed 02/21/19 Page 2 of 5 Page ID #:1056
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

      Case No. SA CV 18-1293-DOC (DFMx)                                      Date: February 21, 2019
                                                                                              Page 2

        I.     Facts and Procedural History
      On July 26, 2018, Plaintiff filed five respective Complaints in the following five
  actions: SpeakWare, Inc. v. Microsoft Corporation, Case No. SA CV 18-1293-DOC
  (DFMx); SpeakWare, Inc. v. Google LLC, Case No. SA CV 18-1299-DOC (DFMx)
  (“Google Action”); SpeakWare, Inc. v. Samsung Electronics Co., Ltd. et al, Case No. SA
  CV 18-1300-DOC (DFMx) (“Samsung Action”); SpeakWare, Inc. v. Apple Inc., Case
  No. SA CV 18-1302-DOC (DFMx) (“Apple Action”); SpeakWare, Inc. v. Amazon.com,
  Inc., Case No. SA CV 18-1303-DOC (DFMx) (“Amazon Action”).
      The following facts are taken from Plaintiff SpeakWare, Inc.’s (“SpeakWare” or
  “Plaintiff”) Complaint (Dkt. 1) in the instant action and related actions.1 Plaintiff
  SpeakWare is a corporation organized under the laws of the State of California. Compl. ¶
  1. Plaintiff is the owner of U.S. Patent 6,397,186 (“186 Patent”) entitled “Hands-Free,
  Voice-Operated Remote Control Transmitter,” which issued on May 28, 2002. Id. ¶ 2.
  The 186 Patent is well-known in the industry and has been cited in 163 issued patents. Id.

      Plaintiff alleges that Defendants developed, manufactured, imported, offered for sale,
  sold, and used voice-activated systems for controlling appliances that infringe the 186
  Patent. Id. ¶ 4. Specifically, Plaintiff alleges that the infringing products include:
  Microsoft Windows 10 and Harman Kardon Invoke smart speakers, all of which use
  Microsoft’s voice-activated virtual assistant, Cortana, to control appliances, see id. ¶ 4;
  Google Home, Google Home Mini, Google Home Max, and Google Pixel 2, all of which
  use Google’s voice-activated virtual assistant, Google Assistant, to control appliances,
  see Google Compl. ¶ 4; Galaxy S8 and S8+, Galaxy S9 and S9+ and above, and Galaxy
  Note 8 and above, all of which use Samsung’s voice-activated virtual assistant, Bixby, to
  control appliances, see Samsung Compl. ¶ 4; Apple iPhones (6s or later), iPads (6th
  generation or later and Pro), and HomePods, all of which use Apple’s voice-activated
  virtual assistant, Siri, to control appliances, see Apple Compl. ¶ 4; and Amazon Echo
  devices, all of which use Amazon’s voice-activated virtual assistant, Alexa, to control
  appliances, see Amazon Compl. ¶ 4.
      On October 22, 2018, Microsoft filed a Motion to Dismiss Claims for Willful
  Infringement and Pre-Suit Induced Infringement (Dkt. 17). On October 12, 2018, Google
  filed a Motion to Dismiss Case (Google Action, Dkt. 22).
      On December 11, 2018, Plaintiff filed a Motion to Consolidate the aforementioned
  five cases (Dkt. 23). On January 14, 2019, the Court granted Plaintiff’s Motion to
  1
    Plaintiff’s Complaint in SpeakWare, Inc. v. Microsoft Corporation, Case No. SA CV 18-1293-
  DOC (DFMx) mirrors the Complaints in the remaining four cases, which have since been
  consolidated with this case. Accordingly, the background as articulated in the Complaint (Dkt. 1)
  remains applicable.
Case 8:18-cv-01293-DOC-DFM Document 55 Filed 02/21/19 Page 3 of 5 Page ID #:1057
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. SA CV 18-1293-DOC (DFMx)                                      Date: February 21, 2019
                                                                                           Page 3

  Consolidate on January 14, 2019 (Dkt. 29), consolidated the five cases under the low case
  number, SpeakWare, Inc. v. Microsoft Corporation, Case No. SA CV 18-1293-DOC
  (DFMx), and appointed Judge Jim L. Smith as Special Master. Additionally, the Court
  took Microsoft’s Motion to Dismiss under submission, and referred Google’s Motion to
  Dismiss to Judge Layn Phillips (Dkt. 29).
      On November 30, 2018, Google filed two Petitions for Inter Partes Review of the 186
  Patent with the Patent Trial and Appeal Board (“PTAB”) (Dkt. 34-3 and 34-4), pursuant
  to 35 U.S.C. §§ 311, et seq, arguing that the prior art rendered claims 1–20 and 21–55 of
  the 186 Patent obvious.
     On January 22, 2019, Google filed the instant Motion to Stay (“Motion” or “Mot.”)
  (Dkt. 34). On January 28, 2019, Microsoft, Samsung, Apple, and Amazon joined in
  Google’s Motion (Dkt. 37). Plaintiff opposed (“Opposition”) on February 4, 2019, and
  Defendants filed a joint reply (“Reply”) on February 11, 2019.

     II.    Legal Standard
      “Courts have inherent power to manage their dockets and stay proceedings, including
  the authority to order a stay pending conclusion of a PTO reexamination.” Ethicon, Inc. v.
  Quigg, 849 F. 2d 1422, 1426–27 (Fed. Cir. 1988) (citations omitted). “To be sure, a court
  is under no obligation to delay its own proceedings by yielding to ongoing PTAB patent
  reexaminations—even if the reexaminations are relevant to the infringement claims
  before the Court.” Robert Bosch Healthcare Systems, Inc. v. Cardiocom, LLC, NO C-14-
  1575 EMC, 2014 WL 3107447, at *3 (N.D. Cal. July 3, 2014).
      To determine where to stay a case pending inter partes review (“IPR”), courts in this
  district typically consider three factors: “(1) whether discovery is complete and whether a
  trial date has been set; (2) whether a stay will simplify the issues in question and trial of
  the case; and (3) whether a stay would unduly prejudice or present a clear tactical
  disadvantage to the nonmoving party.” Universal Elecs., Inc. v. Universal Remote
  Control, Inc., 943 F. Supp. 2d 1028, 1030–31 (C.D. Cal. 2013). The three factors “are not
  exhaustive, however, as the decision whether to order a stay must be based on the totality
  of the circumstances.” Polaris Innovations Limited v. Kingston Technology Company,
  Inc., No. SACV 16-00300-CJC (RAOx), 2016 WL 7496740, at *1 (C.D. Cal. November
  17, 2016). See also Allergan Inc. v. Cayman Chem. Co., No. SACV 07-01316-JVS
  (RNBx), 2009 WL 8591844, at *2 (C.D. Cal. April 9, 2009) (citations omitted).
Case 8:18-cv-01293-DOC-DFM Document 55 Filed 02/21/19 Page 4 of 5 Page ID #:1058
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

      Case No. SA CV 18-1293-DOC (DFMx)                                        Date: February 21, 2019
                                                                                                Page 4

        III.   Discussion

      Under the totality of the circumstances in this action, a stay is not warranted at this
  time. In contrast to other motions to stay previously before this Court, a scheduling order
  has been issued, a motion to consolidate has been decided, and a trial date has been set in
  the instant action. Cf Limestone v. Micron Technology, No. SA CV 15-00278-DOC
  (RNBx), 2016 WL 3598109, at *2 (C.D. Cal. January 12, 2016) (noting that no trial date
  had been set). The parties and the Court have also “expended non-trivial resources into
  this litigation,” Polaris, 2016 WL 7496740 at *2; in addition to issuing a scheduling
  order, the Court has referred Google’s motion to dismiss to Judge Phillips, and has taken
  Microsoft’s motion to dismiss under submission. Though trial will not commence until
  next year, the litigation has proceeded significantly since the filing of the Complaint,
  counseling against a stay of the action.

      Defendants argue Google’s IPR petitions will be resolved promptly and in their favor,
  see Mot. at 12, yet the PTAB has not even yet decided whether to institute an IPR.2 Thus
  far Google has merely petitioned for IPR pursuant to 35 U.S.C. §§ 311, et seq (Dkt. 34-3
  and 34-4). Once a petition for IPR is filed, the patent owner has the right to file a
  preliminary response to the petition, arguing for why an IPR should not be instituted. See
  35 U.S.C. § 313. The Director of the PTAB then has three months to decide whether to
  grant the petition, and may only do so if the petition “shows that there is a reasonable
  likelihood that the petitioner would prevail with respect to at least 1 of the claims
  challenged in the petition.” 35 U.S.C. § 314. Google seeks IPR for more than fifty claims,
  and the PTAB may decide to review some or none of the challenged claims. As a result,
  “any simplification [of the action] as a result of PTAB proceedings is inherently
  speculative.” Polaris, 2016 WL 7496740 at *2. Accordingly, stay of the instant action is
  not warranted because it appears “based on nothing more than the fact that a petition for
  inter partes review was filed.” Polaris, 2016 WL 7496740 at *2 (quoting Automatic Mfg.
  Sys., Inc. v. Primera Tech., Inc., No. 6:12-CV-1727-ORL-37, 2013 WL 1969247, at *3
  (M.D. Fla. May 13, 2013).


  2
    Defendants compare the instant action to Limestone, in which this Court did grant a stay due to
  an IPR petition. However, as noted above, a scheduling order setting a trial date had not yet
  issued in Limestone when the court stayed the action. See Limestone, 2016 WL 3598109, at *2.
  Moreover, despite assurances that a stay would be short, the Court’s proceedings in Limestone
  were stayed for approximately ten months. See Limestone, No. SA CV 15-00278-DOC (RNBx)
  (Dkt. 69, Dkt. 76) (stay was issued January 12, 2016 and lifted November 6, 2016). Accordingly,
  at this stage in the instant action, where an IPR has not been instituted regarding the 186 Patent,
  the Court declines to grant a stay.
Case 8:18-cv-01293-DOC-DFM Document 55 Filed 02/21/19 Page 5 of 5 Page ID #:1059
                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL

   Case No. SA CV 18-1293-DOC (DFMx)                                      Date: February 21, 2019
                                                                                           Page 5

      Considering the totality of the circumstances, the Court finds a stay is not appropriate
  at this time, particularly given that the PTAB has yet to decide whether to institute the
  IPR on claims 1–20 and 21–55 within the 186 Patent. The Court thus DENIES
  WITHOUT PREJUDICE Defendants’ Motion to Stay.

     IV.      Disposition

         For the foregoing reasons, the Court DENIES WITHOUT PREJUDICE
  Defendants’ Motion to Stay Pending Determination of Inter Partes Review of the Patent-
  in-Suit.

           The Clerk shall serve this minute order on the parties.

   MINUTES FORM 11
   CIVIL-GEN                                                           Initials of Deputy Clerk: djl
